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   11
   12                        UNITED STATES DISTRICT COURT
   13                       CENTRAL DISTRICT OF CALIFORNIA
   14
   15   In re ZF-TRW Airbag Control Units      MDL No. 2905
        Products Liability Litigation
   16                                          Case No. 2:19-ml-02905-JAK-FFM
        ALL CASES
   17                                          PLAINTIFFS’ OPPOSITION TO
                                               ZF TRW DEFENDANTS’ MOTION
   18                                          TO STAY DISCOVERY
   19                                          Date:      September 14, 2020
                                               Time:      1:30 p.m.
   20                                          Judge:     Hon. John A. Kronstadt
                                               Ctrm:      10B
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    1            Plaintiffs1 respectfully submit this memorandum of points and authorities in
    2   opposition to Defendants ZF Active Safety and Electronics US LLC; ZF Passive
    3   Safety, Systems US Inc.; TRW Automotive Inc.; ZF TRW Automotive Holdings
    4   Corp.; and ZF North America, Inc.’s (collectively, “ZF”) Motion to Stay Discovery,
    5   ECF No. 188.2
    6   I.       INTRODUCTION
    7            This case concerns approximately 15 million vehicles equipped with
    8   defective airbag control units (“ACUs”) designed by ZF. These ACUs are
    9   vulnerable to electrical overstress (“EOS”), which can cause a vehicle’s airbag and
   10   seatbelt system to fail when it is needed most: during a head-on collision. Plaintiffs
   11   and millions of other similarly-situated consumers overpaid for these defective
   12   vehicles and bore the risks of death and injury for years.
   13            Defendants have taken no steps to repair approximately 9 million vehicles
   14   affected by this defect. Their efforts to repair the remaining vehicles were belated
   15   and inadequate. More fundamentally, for both recalled and unrecalled vehicles,
   16   Defendants have done nothing to compensate consumers by, for example, refunding
   17   the overpayment damages suffered at the point of purchase or lease. And, no
   18   amount of investigation by the National Highway Traffic Safety Administration
   19   (“NHTSA”) changes this fact. See In re Takata Airbag Prod. Liab. Litig., MDL No.
   20   2599, 2015 WL 12641693, at *2 (S.D. Fla. Sept. 21, 2015) (refusing to stay based
   21   on primary jurisdiction because “courts routinely make determinations regarding
   22   [vehicular] defects” even where, as here, defect related to airbags and NHTSA was
   23   actively investigating same defect). Indeed, for decades courts have permitted
   24
   25
        1
          “Plaintiffs” herein refers to the 65 individuals named in the Consolidated
        Complaint, ECF No. 120.
   26   2
          The following Defendants support ZF’s motion, but raise no arguments of their
   27   own: American Honda Motor Co., Inc.; Honda of America Mfg., Inc.; Honda R&D
        Americas, Inc.; Hyundai Mobis Co., Ltd.; Hyundai Motor America, Inc.; Kia
   28   Motors America, Inc.; FCA US LLC; and Mitsubishi Motors North America, Inc.
                                                                    PLAINTIFFS’ OPPOSITION TO ZF TRW
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    1   consumers to seek damages in automotive defect consumer class actions without an
    2   investigation or recall determination by NHTSA. Accordingly, this lawsuit seeks
    3   such damages.
    4            Although Plaintiffs filed suit nearly a year and a half ago, this case has barely
    5   progressed. Hardly any discovery has occurred. Several of the Defendants
    6   (including FCA US LLC and all foreign defendants) have not provided any
    7   discovery at all.
    8            But a year and a half of prejudicial delay is not enough for ZF. It asks the
    9   Court to abdicate its traditional role as the forum for consumer automobile defect
   10   claims and instead further delay the litigation while NHTSA investigates the
   11   defective ZF TRW ACUs.
   12            A discovery stay would be inappropriate, inefficient and ineffective.
   13   NHTSA’s investigation began nearly two and a half years ago, and if history is any
   14   guide, the investigation could continue for several more years. By way of example,
   15   NHTSA’s similar investigation of Takata airbag inflators began in the middle of
   16   2014 and remains open to this very day. The Takata investigation has led to recalls
   17   as recently as this year.
   18            And Plaintiffs’ claims will continue regardless of what NHTSA finds. At
   19   most, the agency’s findings may become just one piece in the large evidentiary
   20   mosaic that will be created through the MDL coordinated discovery process. Most
   21   importantly, however, while NHTSA can mandate recalls, it cannot require
   22   Defendants to pay damages to Plaintiffs or Class members. The process is
   23   designed to work together with parallel litigation, not to replace or subsume it.
   24            Although ZF invokes the primary jurisdiction doctrine as the principal reason
   25   for further delay, it never suggests that NHTSA has any jurisdiction over Plaintiffs’
   26   claims, that NHTSA’s investigation will resolve those claims, or that NHTSA can
   27   issue anything other than minimum safety standards that act as a floor for this
   28   Court. Nor does ZF suggest that this MDL is likely to cause any specific conflicts
                                                                      PLAINTIFFS’ OPPOSITION TO ZF TRW
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    1   with any issue Congress assigned exclusively to NHTSA. Nor could it.
    2            What ZF does do, however, is ignore the litany of automobile defect cases
    3   where courts (including several in this Circuit) squarely rejected the same primary
    4   jurisdiction arguments raised by ZF here. This Court need not break new ground,
    5   and ZF offers no reason for it to do so.
    6            Accordingly, the Court should deny ZF’s motion for a stay and order ZF and
    7   the other Defendants to commence with discovery.
    8   II.      BACKGROUND
    9            The 15 million class vehicles implicated by this case share one common trait:
   10   a ZF TRW ACU containing a specialized microchip called the DS84 application-
   11   specific integrated circuit (“ASIC”). See Consolidated Class Action Complaint
   12   (“CAC”), ¶¶ 280 – 291. ZF has known that these ACUs were vulnerable to EOS
   13   since at least as early as 2008, when the ACUs shut down during testing and
   14   showed signs of EOS damage. See id. ¶ 293. Nonetheless, ZF pushed these ACUs
   15   to market and failed to warn consumers.
   16            This decision cost lives. Collectively, NHTSA and the Vehicle Manufacturer
   17   Defendants3 have linked multiple airbag and/or seatbelt failures in crashes to ZF
   18   TRW ACUs that showed signs of EOS in the DS84 ASIC. To date, they attribute at
   19   least eight known deaths to the defect. Id. ¶ 14. ZF does not meaningfully dispute
   20   these conclusions.
   21            Hyundai, Kia, FCA, and Toyota have already recalled 16 different vehicle
   22   models across a wide range of years based on the ZF TRW ACU defect. ZF asserts
   23   3
         The Vehicle Manufacturer Defendants are Hyundai Motor Co., Ltd.; Hyundai
   24   Motor America, Inc.; Kia Motors Corporation; Kia Motors America, Inc.; FCA US
        LLC; Fiat Chrysler Automobiles N.V.; Toyota Motor Corporation; Toyota Motor
   25   North America Inc., Toyota Motor Engineering & Manufacturing North America,
   26   Inc.; Toyota Motor Sales, U.S.A., Inc.; Honda Motor Co. Ltd.; American Honda
        Motor Co., Inc.; Honda of America Mfg., Inc.; Honda R&D Co., Ltd.; Honda R&D
   27
        Americas, Inc.; Mitsubishi Motors Corporation; and Mitsubishi Motors North
   28   America, Inc.
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    1   its ACUs “vary significantly across different makes, years, and models of vehicles”
    2   (ECF No. 188 at 2), which proves Plaintiffs’ point that a shared design flaw in the
    3   ZF TRW ACUs is the only plausible explanation for the observed EOS across these
    4   different makes and models. See CAC, ¶¶ 290, 291, 292. Indeed, ZF admits that
    5   NHTSA has been actively investigating the design flaw in ZF TRW ACUs since at
    6   least as early as March 16, 2018. See ECF No. 188 at 5.
    7            Although ZF notes that recalls have occurred as a result of NHTSA’s
    8   investigation, its quotes of NHTSA’s public reports highlight that the most recent
    9   set of NHTSA document requests were served in July 2019—more than a year ago.
   10   See ECF. No. 188 at 6. ZF provides no estimate of when NHTSA’s investigation
   11   might conclude, nor does it describe any plans to fix the more than 9 million
   12   unrecalled class vehicles. In short, ZF seeks to stall this litigation pending an open-
   13   ended regulatory investigation that is incapable of resolving Plaintiffs’ claims.4
   14   III.     LEGAL STANDARD
   15            The primary jurisdiction doctrine “applies in a limited set of circumstances.”
   16   Clark v. Time Warner Cable, 523 F.3d 1110, 1114 (9th Cir. 2008). It is not
   17   “intended to secure expert advice for the courts from regulatory agencies every time
   18   a court is presented with an issue conceivably within the agency’s ambit,” and it
   19   “does not require that all claims within an agency’s purview be decided by the
   20   agency.” Brown v. MCI WorldCom Network Servs., Inc., 277 F.3d 1166, 1172 (9th
   21   Cir. 2002). “[A]s it often results in added expense and delay,” the primary
   22   jurisdiction doctrine “is to be invoked sparingly.” Alpharma, Inc. v. Pennfield Oil
   23   Co., 411 F.3d 934, 938 (8th Cir. 2005) (citation omitted).
   24            ZF’s motion focuses exclusively on four factors listed in Syntek
   25   Semiconductor Co. v. Microchip Tech. Inc., 307 F.3d 775, 781 (9th Cir. 2002), as
   26   relevant to the determination of whether to apply the primary jurisdiction doctrine:
   27
   28   4
            NHTSA has not joined ZF’s request for a stay.
                                                                     PLAINTIFFS’ OPPOSITION TO ZF TRW
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    1   (1) the litigation’s need to resolve an issue that (2) has been placed by Congress
    2   within the jurisdiction of an administrative body where (3) that body has
    3   comprehensive regulatory authority and where (4) the issue requires expertise or
    4   uniformity in administration. See ECF No. 188 at 7 (asserting primary jurisdiction
    5   “turns on four factors”). Although these factors are relevant, Syntek does not
    6   provide the exclusive framework to evaluate primary jurisdiction. Indeed, as the
    7   Ninth Circuit held several years after Syntek, “[n]o fixed formula exists for applying
    8   the doctrine of primary jurisdiction.” Clark v. Time Warner Cable, 523 F.3d 1110,
    9   1115 (9th Cir. 2008).
   10            In addition to the four Syntek factors, “courts must . . . consider whether
   11   invoking primary jurisdiction would needlessly delay the resolution of claims.”
   12   Astiana v. Hain Celestial Group, Inc., 783 F.3d 753, 760 (9th Cir. 2015) (emphasis
   13   added). “[P]rimary jurisdiction is not required when a referral to the agency would
   14   significantly postpone a ruling that a court is otherwise competent to make.” Id. at
   15   761. At bottom, “the ‘deciding factor’ in determining whether the primary
   16   jurisdiction doctrine should apply is ‘efficiency.’” Reid v. Johnson & Johnson,
   17   780 F.3d 952, 967 (9th Cir. 2015) (quoting Rhoades v. Avon Prods., Inc., 504 F.3d
   18   1151, 1165 (9th Cir. 2007)) (emphasis added). ZF’s motion fails to account for
   19   efficiency and delay in the litigation, despite the Ninth Circuit’s emphasis on this
   20   important factor.
   21   IV.      ZF’S MOTION TO STAY FAILS TO MEET THE NINTH CIRCUIT’S
                 TEST
   22
                 A.    Litigation involving automobile defects is within the conventional
   23                  experience of the judiciary.
   24            For the first and second Syntek factors, courts typically assess whether an
   25   issue in a litigation “needs” to be resolved by an agency. As part of this analysis,
   26   courts consider whether a case raises “issues of fact not within the conventional
   27   experience of judges.” United States v. W. Pac. R. Co., 352 U.S. 59, 64 (1956); see
   28   also Brown, 277 F.3d at 1172; Robles v. Domino's Pizza, LLC, 913 F.3d 898, 910–
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 1   11 (9th Cir.), cert. denied, 140 S. Ct. 122, 205 L. Ed. 2d 41 (2019) (referral to
 2   agency was “‘needless’ because the application of the ADA to the facts of this case
 3   are well within the court’s competence”); Prescott v. Bayer HealthCare LLC,
 4   No. 20-cv-00102-NC, 2020 WL 4430958, at *3 (N.D. Cal. July 31, 2020) (stating
 5   first factor is whether issue is within “conventional experience of judges”). Courts
 6   also consider whether litigation implicates “quasi-legislative powers,” such as
 7   formal “rulemaking” authority. See Clark v. Time Warner Cable, 523 F.3d 1110,
 8   1115 (9th Cir. 2008).
 9            This case falls squarely within the conventional competence of the judiciary.
10   For more than a century, courts have regularly addressed safety defects in
11   automobiles. Indeed, several automobile defect cases are considered cornerstones of
12   American common law and are read by every first year law student. See, e.g.,
13   MacPherson v. Buick Motor Co., 217 N.Y. 382 (1916) (Judge Cardozo’s landmark
14   decision that privity of contract not required in case arising from defective wheel).
15            Accordingly, even when NHTSA is actively investigating a safety defect that
16   goes to the “heart of plaintiffs’ claims” (see ECF No. 188 at 8), courts routinely
17   hold those defects do “not raise issues of fact not within the conventional
18   experience of judges.” Kent v. DaimlerChrysler Corp., 200 F. Supp. 2d 1208, 1218-
19   19 (N.D. Cal. 2002) (holding defect involving shifting from park to reverse was
20   “within the conventional competence of the courts” despite active NHTSA
21   investigation); see also In re Takata Airbag Prod. Liab. Litig., MDL No. 2599,
22   2015 WL 12641693, at *2 (S.D. Fla. Sept. 21, 2015) (refusing to stay based on
23   primary jurisdiction because “courts routinely make determinations regarding
24   [vehicular] defects” even where, as here, defect related to airbags and NHTSA was
25   actively investigating same defect); In re Gen. Motors Corp. Pickup Truck Fuel
26   Tank Prod. Liab. Litig., No. MDL 961, 1993 WL 204116, at *6 (E.D. Pa. June 10,
27   1993) (holding determination of defect in fuel tank under investigation by NHTSA
28   “would be made in a style similar to other product liability cases”); In re Toyota
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 1   Unintended Acceleration, 754 F. Supp. 2d 1145, 1198-1200 (C.D. Cal. 2010)
 2   (holding unintended acceleration defect was “within the conventional competence
 3   of the courts” and denying stay motion despite NHTSA’s ongoing investigation);
 4   Glenn v. Hyundai Motor Am., No. SA CV 15-2052, 2016 WL 3621280, at *17 (C.D.
 5   Cal. June 24, 2016) (denying motion to stay claims based on shattering sunroofs
 6   despite NHTSA investigation). This case presents no reason for a different
 7   approach. From the perspective of NHTSA’s regulatory authority and the primary
 8   jurisdiction doctrine, ZF’s defective ACUs present the same legal issue as the
 9   defective airbag inflators, fuel tanks, sunroofs, transmission, or accelerators
10   addressed by these precedents.
11            For this reason, courts have repeatedly rejected the argument that a plaintiff’s
12   claims should be deferred to NHTSA merely because they implicate vehicle safety.
13   See Sanchez-Knutson v. Ford Motor Co., 52 F. Supp. 3d 1223, 1238 (S.D. Fla.
14   2014) (“Ford’s argument of deferral to NHTSA because Plaintiff’s claims implicate
15   vehicle safety issues has been offered and rejected”); Gerstle v. Am. Honda Motor
16   Co., No. 16-cv-04384-JST, 2017 WL 2797810, at *5 (N.D. Cal. June 28, 2017)
17   (denying motion to stay in part because “[c]ourts have also refused to invoke the
18   primary jurisdiction doctrine when plaintiffs are bringing state contract and tort
19   claims, regardless of any NHTSA action”); Ford v. Ford Motor Co., No. CV 13-
20   8335 PSG (SSx), 2014 WL 12570925, at *5 (C.D. Cal. Jan. 17, 2014) (holding
21   claim regarding defect in rear axle was “not outside the conventional experiences of
22   judges, and does not involve issues that are within the NHTSA’s discretion.”);
23   Reniger v. Hyundai Motor Am., 122 F. Supp. 3d 888, 906 (N.D. Cal. 2015) (holding
24   ZF’s “first factor favors resolution by the Court, as the Court is better able to handle
25   a products defect case involving numerous allegations of warranty violation” than
26   NHTSA); Ezell v. Graco Children’s Prod. Inc., No. CIV- 12-787-C, 2013 WL
27   12091071, at *1 (W.D. Okla. Mar. 8, 2013) (denying primary jurisdiction based on
28   NHTSA’s authority because claims involved requests for defect-related “damages,
                                                                  PLAINTIFFS’ OPPOSITION TO ZF TRW
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 1   a matter within the normal competence of the courts”). The same reasoning controls
 2   here.
 3            ZF’s vague allusions to NHTSA’s safety regulations do not offer any reason
 4   to depart from these many directly-on-point precedents. No rule-making or
 5   otherwise “quasi-legislative” process is implicated by this case. Nor does this case
 6   implicate any ambiguous language in NHTSA’s statutory framework or regulations.
 7   Accordingly, ZF fails to show any “need” for the Court to abandon its traditional
 8   role as the forum for consumer automobile defect claims or for NHTSA to specially
 9   address the existence of a defect.
10            B.    NHTSA’s regulatory authority is not “comprehensive” because
                    NHTSA has no power to address Plaintiffs’ claims.
11
12            The third Syntek factor also weighs against a stay because NHTSA’s
13   regulatory authority does not extend to Plaintiffs’ claims. The National Traffic and
14   Motor Vehicle Safety Act specifically “limits the jurisdiction of the NHTSA to
15   exclude warranty laws . . . and common law liability.” Reniger, 122 F. Supp. 3d at
16   907 (emphasis added); see also Marsikian v. Mercedes Benz USA, LLC, No. CV
17   08-04876 AHM (JTLx), 2009 WL 8379784, at *9 (C.D. Cal. May 4, 2009); In re
18   Gen. Motors Corp. Pickup Truck Fuel Tank Prod. Liab. Litig., No. MDL 961, 1993
19   WL 204116, at *2 (E.D. Pa. June 10, 1993). NHTSA similarly lacks any authority
20   to rule on Plaintiffs’ RICO claims or to require Defendants to pay damages to
21   Plaintiffs. See Glenn, 2016 WL 3621280, at *17 (denying motion to stay in part
22   because a “recall does not provide . . . monetary damages,” which “weighs against
23   application of the primary jurisdiction doctrine”) (quoting Phillips v. Ford Motor
24   Co., Case No. 14-CV-02989-LHK, 2016 WL 693283, at *11 (N.D. Cal. Feb. 22,
25   2016)). Instead, NHTSA’s regulations merely establish “minimum standards” that
26   do not grant “immunity from civil suit.” In re Gen. Motors Corp. Pickup Truck
27   Fuel Tank Prod. Liab. Litig., 1993 WL 204116, at *5.
28            Moreover, while NHTSA has the authority to conduct recalls, “there is little
                                                                 PLAINTIFFS’ OPPOSITION TO ZF TRW
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 1   authority to suggest that Congress intended for NHTSA to have exclusive authority
 2   over automobile safety.” Philips, 2016 WL 693283, at *12; see also Kent, 200 F.
 3   Supp. 2d at 1218 (“[T]he Court does not find that exercise of the doctrine of
 4   primary jurisdiction is necessary at this stage of the case, either to ensure
 5   uniformity of regulation or because NHTSA is better-equipped than the Court to
 6   address the issues raised by [p]laintiffs’ claims.”).5 As such, ZF merely argues that
 7   NHTSA has comprehensive “investigative” authority pertaining to recalls, but not
 8   pertaining to product liability, fraud, or breach of contract. ECF No. 188 at 10-11.
 9   These assertions about “investigative” authority and “analysis of the data” (see id.
10   at 12) are irrelevant to whether NHTSA has “comprehensive regulatory authority”
11   that actually encompasses Plaintiffs claims. Instead, the statute creating NHTSA
12   expressly limits NHTSA’s authority over Plaintiffs’ claims, which only the
13   judiciary can address.
14            C.    Litigation will not undermine NHTSA’s expertise or conflict with
                    NHTSA’s investigation.
15
              In assessing an agency’s expertise and the risks to uniformity in
16
     administration (the fourth Syntek factor), courts often look to whether plaintiffs’
17
     claims challenge the administrative agency’s regulations or other conduct. Where
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     plaintiffs do not challenge an agency’s authority or decision, courts typically hold
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     the litigation does not threaten any conflict with the agency’s jurisdiction. See, e.g.,
20
     Nader v. Allegheny Airlines, Inc., 426 U.S. 290, 304 (1976) (primary jurisdiction
21
     doctrine did not apply because the plaintiff’s suit did not challenge the
22
     reasonableness of the rates set by the Civil Aeronautics Board or any other practice
23
     5
24     ZF relies on Silvas v. Gen. Motors, LLC, No. 2:14–CV–89, 2014 WL 1572590
     (S.D. Tex. Apr. 17, 2014), an out-of-circuit case that conflicts with Philips insofar
25   as it suggests that NHTSA’s recall jurisdiction is exclusive. In any event, even if
     the Court lacks authority to enter a recall-related injunction, as Silvas suggests, this
26   is not a reason to stay Plaintiffs’ claims for damages, which NHTSA cannot award.
27   The Court can consider any limits on its power to issue injunctive relief when and if
     Plaintiffs move for that relief. Notably, Silvas addressed a motion for a preliminary
28   injunction and not a motion for a stay.
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 1   approved by the agency); In re Toyota Hybrid Brake Mktg., Sales Practices &
 2   Prods. Liab. Litig., 890 F. Supp. 2d 1210, 1224 (C.D. Cal. 2011) (“Plaintiffs’
 3   claims are based on California consumer protection statutes and common-law
 4   breach of contract, not the Motor Vehicle Safety Act, and do not require resolving
 5   questions of compliance with NHTSA regulations.”).
 6            Although NHTSA certainly has some technical expertise relating to
 7   automobiles, this litigation will not turn on technical expertise alone. Resolving this
 8   case will also require expertise on warranty laws and consumer protection statutes,
 9   and other legal issues that only the judiciary possesses. Moreover, courts frequently
10   address technical issues of comparable complexity to the ACU defect here. See
11   Kent, 200 F. Supp. 2d at 1218-19 (transmission defect); Takata, 2015 WL
12   12641693, at *2 (airbag inflator defect); In re Gen. Motors Corp. Pickup Truck
13   Fuel Tank Prod. Liab. Litig., 1993 WL 204116, at *6 (fuel tank defect); Toyota
14   Unintended Acceleration, 754 F. Supp. 2d at 1198-1200 (accelerator defect); Glenn,
15   2016 WL 3621280, at *17 (sunroof defect). ZF fails to demonstrate that an ACU
16   defect is more complex than any of the automobile defects previously addressed by
17   the judiciary.
18            In any event, litigation does not threaten any inconsistency with NHTSA’s
19   technical expertise. Plaintiffs’ claims do not challenge NHTSA’s regulations or
20   other actions by the agency. Rather, Plaintiffs’ statutory and common law claims
21   exist outside the scope of NHTSA’s regulations, which “were designed as a
22   preventative measure ‘supplementary and of and in addition to’” common law
23   remedies. In re Gen. Motors Corp. Pickup Truck Fuel Tank Prods. Liab. Litig.,
24   1993 WL 204116, at *6 (quoting United States v. Gen. Motors Corp., 518 F.2d 420,
25   434 (D.C. Cir. 1975)); Reniger, 122 F. Supp. 3d at 907; Garcia v. Harley-Davidson
26   Motor Co., Inc., No. 19-cv-02054-JCS, 2019 WL 6050768, at *7 (N.D. Cal. Nov.
27   15, 2019) (refusing to apply primary jurisdiction doctrine where, as here, “Garcia’s
28   claims do not arise under the Motor Vehicle Safety Act”).
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 1            Despite its conclusory assertions, ZF fails to articulate any actual conflict
 2   between Plaintiffs’ Claims and NHTSA’s regulatory authority. Instead, ZF merely
 3   speculates regarding a potential conflict, as demonstrated by ZF’s own words:
 4            •     “the orders or findings that NHTSA may issue or reach from its
 5                  investigation may affect the relief, if any, available to Plaintiffs,” ECF
 6                  No. 188 at 8 (emphasis added),
 7            •     “NHTSA’s orders could well affect significant aspects of the
 8                  litigation,” id. at 12 (emphasis added),
 9            •     “NHTSA’s determination on the need (or not) for further recalls could
10                  shape the relevant relief for Plaintiffs,” id. at 14 (emphasis added),
11            •     “And NHTSA’s interpretation of its disclosure regulation could affect
12                  Plaintiffs’ duty-to- disclose theory.” Id. (emphasis added).
13   Such speculation cannot form the basis of a stay. See Toyota Unintended
14   Acceleration 754 F. Supp. 2d at 1199-2000 (rejecting application of primary-
15   jurisdiction doctrine in part because “Toyota has not shown that an actual conflict
16   exists between Plaintiffs’ claims or requested relief and the NHTSA
17   investigation”); Toyota Hybrid Brake, 890 F. Supp. 2d at 1224 (rejecting argument
18   that court should defer to NHTSA “over recalls when a recall is already underway
19   and [the recall] addresses the concerns by Plaintiffs,” because NHTSA had neither
20   confirmed the defect in its investigation nor was there a subsequent finding that the
21   defect had been properly remedied); Takata, 2015 WL 12641693, at *3 (declining
22   to impose six-month stay where “the Court’s determination of the pending claims
23   and the underlying issue of the purported defect will not impede NHTSA’s progress
24   on its investigation and recall, nor should it impact Defendants’ ability to comply
25   with NHTSA’s orders.”).
26            Moreover, as to the more than 5 million vehicles that have been recalled but
27   for which its owners have received no compensation for overpayment, ZF does not
28   articulate what additional relief, if any, NHTSA could order. Nor does ZF show that
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 1   NHTSA is empowered to provide the full scope of Plaintiffs’ requested relief,
 2   including monetary damages and non-recall related injunctive relief (such as
 3   prohibiting new sales of the Class Vehicles or ordering disclosures warning
 4   consumers about the defective ZF TRW ACUs).6
 5            Because ZF has failed to demonstrate any conflict between this litigation and
 6   NHTSA’s investigation, the primary jurisdiction doctrine does not apply.
 7            D.    A stay will prejudice Plaintiffs.
 8            “[P]rimary jurisdiction is not required when a referral to the agency would
 9   significantly postpone a ruling that a court is otherwise competent to make.”
10   Robles, 913 F.3d at 910.
11            Although Plaintiffs began filing cases against ZF in April 2019—nearly one
12   and a half years ago—barely any discovery has occurred to date despite Plaintiffs’
13   best efforts. Defendants’ voluntarily re-production of materials collected by
14   NHTSA’s investigation consisted of a small fraction of the materials relevant to the
15   claims and defenses in this case; most Defendants have produced only a few
16   hundred documents. These voluntary productions contain virtually no emails or
17   communications regarding the design and testing of the ZF TRW ACUs prior to
18   NHTSA’s investigation. They barely scratch the surface of the discovery needed
19   here.
20            Further delay serves no legitimate purpose. ZF offers no evidence that
21   NHTSA’s investigation is nearing its completion, and a stay based on primary
22   jurisdiction could cause years of additional delay. An ongoing NHTSA
23   investigation cannot justify this severe delay. See Takata, 2015 WL 12641693, at
24
25   6
       See Garcia, 2019 WL 6050768, at *6 (“As far as this Court is aware, while
     automobile defect cases are relatively common, no court within the Ninth Circuit
26   has dismissed a request for injunctive relief in such a case under the primary
27   jurisdiction doctrine. Many courts have declined to do so, even in some cases where
     … NHTSA has undertaken at least some steps to investigate the purported defect at
28   issue.”).
                                                                 PLAINTIFFS’ OPPOSITION TO ZF TRW
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 1   *3 (rejecting Toyota and other defendants’ request for six-month stay based on the
 2   doctrine of primary jurisdiction doctrine in part because “it may take years for
 3   NHTSA to reach a conclusion as to the existence of any defect, or NHTSA may not
 4   reach any conclusion regarding the purported defect”); Dean v. Colgate-Palmolive
 5   Co., No. EDCV 15-0107 JGB, 2015 WL 3999313, at *6 (C.D. Cal. June 17, 2015)
 6   (refusing to apply primary jurisdiction where defendant failed to provide any
 7   estimate of “when [the government investigation] is expected to conclude”);
 8   Edwards v. Oportun, Inc., 193 F. Supp. 3d 1096, 1101 (N.D. Cal. 2016) (finding “a
 9   fair possibility of harm to Plaintiff because the length of the stay is an indefinite
10   one.”). Indeed, NHTSA’s activities relating to Takata airbag inflators is illustrative
11   of the extensive delay associated with NHTSA’s oversight. Although NHTSA first
12   began investigating this issue in the middle of 2014, NHTSA’s active review
13   concerning these inflators is still ongoing today.
14            Finally, for more than 5 million vehicles that Hyundai, Kia, FCA, and Toyota
15   have already recalled, the vehicle manufacturers have admitted to ACU defects, and
16   there is no indication whatsoever that NHTSA disagrees with them. See ECF No.
17   121 ¶¶17 – 19, 354, 398, 362, 392, 393, 429 497. ZF fails to identify any further
18   action that NHTSA is likely to take with respect to these millions of recalled
19   vehicles or to explain how further agency investigation as to these admittedly
20   defective vehicles would have any impact on Plaintiffs’ claims regarding these cars.
21   Accordingly, even if the Court were inclined to abandon its traditional authority
22   over automobile defect cases for the unrecalled vehicles covered by NHTSA’s
23   investigation, the litigation must at the very least proceed regarding these five
24   million vehicles. See Toyota Hybrid Brake, 890 F. Supp. 2d at1224 (primary
25   jurisdiction did not apply where “the investigation by the NHTSA is now closed”
26   and “a year and a half has passed since the recall”); Ford v. Ford Motor Co., 2014
27   WL 12570925, at *5 (denying motion to stay in part because “NHTSA has
28   apparently concluded that Ford’s recall was adequate to satisfy its concerns”); c.f.
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 1   Ellis v. Nissan N. Am. Inc., No. 4:19-CV-00750-FJG, 2020 WL 3105097, at *3
 2   (W.D. Mo. June 11, 2020) (denying motion to dismiss based on primary
 3   jurisdiction doctrine where plaintiff alleged recall was insufficient).
 4            E.    A stay is not otherwise warranted.
 5            To the extent ZF seeks to invoke this Court’s “inherent power to stay an
 6   action until resolution of interrelated proceedings,” (ECF No. 188 at 7-8), no such
 7   stay is appropriate here.
 8            In deciding whether to impose a stay, the Court considers (1) the possible
 9   damage which may result from the granting of a stay, (2) the hardship or inequity
10   which a party may suffer in being required to go forward, and (3) the orderly course
11   of justice measured in terms of the simplifying or complicating of issues, proof, and
12   questions of law which could be expected to result from a stay. Edwards, 193 F.
13   Supp. 3d at 1100-01. “If there is ‘even a fair possibility’ of harm to the opposing
14   party, the moving party ‘must make out a clear case of hardship or inequity in being
15   required to move forward.’” Id. at 1101 (quoting Landis v. N. Am. Co., 299 U.S.
16   248, 255 (1936)).
17            Here, ZF has failed to demonstrate that a stay is warranted. “[B]eing required
18   to defend a suit, without more, does not constitute a ‘clear case of hardship or
19   inequity’” to justify a stay, especially considering the prejudice to Plaintiffs noted
20   above. Lockyer v. Mirant Corp., 398 F.3d 1098, 1112 (9th Cir. 2005). Aside from
21   its arguments under the primary jurisdiction doctrine (addressed above), ZF fails to
22   identify any hardship other than the normal burdens of litigation. Accordingly, its
23   request for a stay pursuant to the Court’s inherent authority should also be denied.
24   V.       CONCLUSION
25            For the reasons set forth above, Plaintiffs respectfully request that the Court
26   deny the ZF TRW Defendants’ motion to stay discovery.
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 1                              CERTIFICATE OF SERVICE
 2            I certify that on August 12, 2020, a copy of the foregoing document was
 3   served electronically through the Court’s CM/ECF System upon all parties who
 4   have appeared in this case.
 5
     DATED: August 12, 2020                       /s/ Roland Tellis
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